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           13    Attorneys for Defendant Facebook, Inc.,
           14
                                               UNITED STATES DISTRICT COURT
           15                                NORTHERN DISTRICT OF CALIFORNIA
                                                  SAN FRANCISCO DIVISION
           16

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           18    IN RE: FACEBOOK, INC. CONSUMER                 CASE NO. 3:18-MD-02843-VC
                 PRIVACY USER PROFILE LITIGATION,
           19                                                   NOTICE OF APPEARANCE OF
                                                                COUNSEL FOR DEFENDANT
           20    This document relates to:                      FACEBOOK, INC.
           21
                 ALL ACTIONS
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Gibson, Dunn &
Crutcher LLP
                               NOTICE OF APPEARANCE OF COUNSEL FOR DEFENDANT FACEBOOK, INC.
                                                  CASE NO. 3:18-MD-02843-VC
                       Case 3:18-md-02843-VC Document 937 Filed 06/02/22 Page 2 of 2


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                         TO THE COURT AND ALL PARTIES AND THEIR COUNSEL OF RECORD:
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                         PLEASE TAKE NOTICE that the following attorney shall now appear on behalf of
            3
                 Defendant Facebook, Inc. in this action, and is authorized to receive service of all pleadings, notices,
            4
                 orders, and other papers regarding this action on behalf of Defendant Facebook, Inc.:
            5
                                               HEATHER L. RICHARDSON (SBN 246517)
            6                                  hrichardson@gibsondunn.com
                                               GIBSON, DUNN & CRUTCHER LLP
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            9
                        Heather L. Richardson is admitted to practice and in good standing in the State of California.
           10

           11
                 Dated: June 2, 2022
           12

           13                                              GIBSON, DUNN & CRUTCHER, LLP
           14                                              By: /s/ Heather L. Richardson
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